852 F.2d 567
    Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William WELLONS, Plaintiff-Appellant,v.J.E. COLLINS;  Warden, Nottoway Correctional Center,Defendants-Appellees.
    No. 88-6021.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 17, 1988.Decided:  July 20, 1988.
    
      William Wellons, appellant pro se.
      Michael A. Likavec (Office of the Attorney General of Virginia), for appellees.
      Before WIDENER, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Wellons appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wellons v. Collins, C/A No. 87-573-R (E.D.Va. Mar. 29, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    